Case 1:21-cr-20407-RKA Document 392-1 Entered on FLSD Docket 01/23/2024 Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 21-CR-20407-RKA

   UNITED STATES OF AMERICA,

             Plaintiff,
   v.

   FAUSTO P. CASTILLO,

         Defendant.
   _______________________________/


                    ORDER GRANTING DEFENDANT FAUSTO P. CASTILLO’S
                    UNOPPOSED MOTION FOR COMPASSIONATE RELEASE

             THIS MATTER came before the court on the Defendant, Fausto P. Castillo’s,

   Unopposed Motion for Compassionate Release pursuant to 18 U.S.C. § 3582(c)(1)(A), and the

   Court having been otherwise fully advised of the premises herein, it is hereby:

             ORDERED AND ADJUDGED that the Defendant’s Unopposed Motion for

   Compassionate Release is GRANTED. The Defendant’s sentence shall be modified to time

   served.

             DONE AND ORDERED in Miami, Florida on this ______ day of January, 2024

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                                                ROY K. ALTMAN
                                                UNITED STATES DISTRICT JUDGE
